Case 3:16-cv-00495-DJH

Document 1-1 Filed 08/02/16

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Page 1 of 1
Commonwealth of Kentucky

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Court

 

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Civit. SUMMONS

Case No.

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SC. CHAO FIC
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Oldham

    

 

ROY WIEBER
2985 Morton Ridge Road

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vs.

Kentucky

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The Carriage House Companies, inc.

Eleven Conagra Drive, 1-260

Omaha Nebraska

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a Service of Process Agent for Defendant:
icy = The Prentice-Hall Corporation System, Inc

ae & 421 West Main Street

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40006

68102

PLAINTIFF

DEFENDANT

 

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Frankfort

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

Kentucky

40601

You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney on
your behalf within 20 days following the day this paper is delivered to you, udgment by default may be taken against you
for the relief demanded in the attached Complaint. os

  
  

  

 

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CIVIL ACTION NO. [o-ce OO44 C OLDHAM CIRCUIT COURT
DIVISION:
JUDGE:
ROY WIEBER PLAINTIFF

2985 MORTON RIDGE ROAD
BEDFORD, KY 40006

COMPLAINT
THE CARRIAGE HOUSE COMPANIES, INC. DEFENDANT

ELEVEN CONAGRA DRIVE, 11-260
OMAHA, NE 68102

SERVE: THE PRENTICE-HALL CORPORATION SYSTEM, INC.
421 WEST MAIN STREET
FRANKFORT, KY 40601

I. INTRODUCTION
Comes the Plaintiff, ROY WIEBER (hereinafter “WIEBER” or “Plaintiff’), and for his
Complaint against the Defendant, The Carriage House Companies, Inc. (hereinafter “Carriage
House” or “Defendant”), states as follows:
IL. JURISDICTION AND VENUE
1. Carriage House is a Kentucky corporation.
2. WIEBER is a Kentucky resident.

3, Carriage House is a corporation regularly transacting business in Oldham County,
Kentucky.
4. Venue is proper in Oldham County, Kentucky, pursuant to Kentucky Revised

Statutes (“KRS”), Chapter 452 et seq because the events that give rise to the causes_of_action in

 

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this case occurred in Oldham County, Kentucky. A case and controversy exists between the
parties to this action and the amount in controversy exceeds the jurisdictional minimum of this
Circuit Court but is less than $75,000 inclusive of fees, punitive damages and the fair value of
any injunctive relief.

5. Il, FACTS

 

6. WIEBER is a former employee of Carriage House.

7. WIEBER worked for Carriage House as a senior machine operator.

8. WIEBER worked for Carriage House at its Kentucky facilities.

9. During his employment the Plaintiff disclosed that he suffered from a herniated
disc. The Plaintiff sought accommodations from the Defendant (in part) in the form of
convalescence time. Subsequent to Plaintiffs disclosure and request for accommodations the
Defendant perceived the Plaintiff as disabled. The Defendant also directly discriminated against
the Plaintiff based on his disability.

10. In response to the discriminatory actions, the Plaintiff complained and was
thereafter terminated in retaliation for Plaintiffs complaints.
IV. CLAIMS AND CAUSES OF ACTION
A. RETALIATION

11. WIEBER re-alleges all allegations contained in Paragraphs 1 through 10 above as
if fully set forth herein.

12. Carriage House as set forth above, constitute retaliation and unlawful discharge in

violation of KRS 344.280 et seq.

 

 

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B. DISABILITY DISCRIMINATION

13. WIEBER re-alleges all allegations contained in Paragraphs 1 through 12 above as
if fully set forth herein.

14. The Defendant’s actions constitutes perceived as regarded as disability
discrimination, disability discrimination and failure to accommodate.

C. RECOVERY OF ATTORNEY’S FEES AND COSTS

15. WIEBER re-alleges all allegations contained in Paragraphs 1 through 14 above as
if fully set forth herein.

16. | WIEBER is entitled to recover Plaintiff's attorney’s fees and costs pursuant to the
provisions of KRS 344 et seq.

V. PRAYER FOR RELIEF

WHEREFORE, Plaintiff WIEBER respectfully prays that Plaintiff be awarded the
following relief and all other relief to which Plaintiff may be entitled:

A. Trial by jury;

B. Judgment against the Defendant on all claims asserted herein;

C. Compensatory damages including but not limited to past and future lost wages
and past and future lost benefits;

D. Compensatory damages including but not limited to emotional distress, mental
anguish, humiliation and embarrassment;

E. Punitive damages to punish and deter similar future unlawful conduct;

F. An award of statutory attorney fees, costs and expenses; and

G. Statutory interest on all damage awards, verdicts or judgments.

 

 

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Respectflly submitted,
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Kurt A. Scharfenberger

800 Kentucky Home Life Building
239 S. Fifth Street

Louisville, Kentucky 40202 —
(502) 561-0777 (phone)

(502) 236-0888 (fax)

Attorney for the Plaintiff
Kurt@Scharfenberger-law.com

 

 

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CIVIL ACTION NO. . OLDHAM CIRCUIT COURT
DIVISION:
JUDGE:

ROY WIEBER PLAINTIFF
2985 MORTON RIDGE ROAD
BEDFORD, KY 40006
Vv.
THE CARRIAGE HOUSE COMPANIES, INC. DEFENDANT

ELEVEN CONAGRA DRIVE, 11-260
OMAHA, NE 68102

SERVE: THE PRENTICE-HALL CORPORATION SYSTEM, INC.

421 WEST MAIN STREET

FRANKFORT, KY 40601

INTERROGATORIES AND REQUESTS TO THE DEFEDNANT
Jk eae ede dee ak de etek kee kkk ae
Pursuant to Kentucky Rules 33 and 34 of the Kentucky Rules of Civil Procedure, the

Plaintiff, Roy Wieber (hereinafter “Wieber” or “Plaintiff’), through counsel, propounds this First
Set of Interrogatories and Request for Production of Documents to the Defendant, The Carriage
House Companies, Inc. (hereinafter “THE CARRIAGE HOUSE” or “Defendant) The
Interrogatories are to be answered in writing, under oath, within thirty (30) days of the date of
service hereof. Defendant is requested to produce for inspection and/or copying all documents
responsive to the Request for Production to Kurt A. Scharfenberger, 800 Kentucky Home Life
Building, 239 S. Fifth Street, Louisville, Kentucky 40202, within thirty (30) days of service

hereof.

 

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These Interrogatories and Request for Production of Documents are deemed continuing
in nature, requiring amended or supplemental answers in conformity with Rule 26.05 of the
Kentucky Rules of Civil Procedure. The instructions and definitions to be utilized in complying
with these Interrogatories and Request are as follows:

DEFINITIONS AND INSTRUCTIONS

1. “You” or “your” shall mean and refer to the Defendant to which these
Interrogatories and Request are directed, and its attorneys, investigators, agents, consultants,
experts, representatives or any other person acting on the Defendant’s behalf or at its request.

2. If you make an objection to any portion of Plaintiff’s Interrogatories and Request,
state the specific objection as it relates to each particular portion of the Interrogatory or Request
to which you are objecting. For the purpose of avoiding confusion and to identify the specific
discovery disputes raised by your responses do not “string cite” boilerplate objections. (e.g.
oppressive, burdensome or harassing etc.)

3. If you object to any time frame for which a specific Interrogatory or Request
seeks information, indicate the time frame for you which are providing a response.

4. If you make “General Objections” to all of Plaintiff's First Set of Interrogatories
and Request for Production of Documents provide your legal basis under the Kentucky Rules of
Civil Rules of Civil Procedure for such objections.

5. If a response to Plaintiff's Interrogatories or Request has both an objection and a
sworn answer (e.g. “without waiving said objection...”) please indicate your legal basis under
the Kentucky Rules of Civil Procedure for this type of “hybrid” objection/response.

6. If in any of your responses to Plaintiff's Interrogatories or Request you intend to
claim that you are: “unaware” of what a certain term means, and or do not “know” what a

certain term means, and or claim a term is “unknown” to you; contact counsel for the Plaintiff,

 
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by and through your counsel, prior to the.date your responses are due and request clarification as
to the meaning of the term or terms causing your confusion. If you make a timely request, the
Plaintiff will grant you additional time to respond to the Interrogatories and or Requests which
contain the confusing term(s). This instruction is an attempt to resolve potential discovery
disputes, without Court intervention, as required by the local Civil Rules.

7. The term "document" or "documents" shall be used in its broadest sense and shall
mean: originals, drafts, and all non-identical copies and reproductions of: records; papers;
correspondence; written communications (including internal and external communications);
reports, directives; computer print-outs or tapes; summaries, records, notes, or memoranda of
telephone conversations; summaries, records, notes, motions reports, memoranda or minutes of
personal conversations, interviews, conferences or meetings; executed agreements and all other
forms of understanding; memoranda; instructions: projections; tabulations; notes; notebooks;
diaries; telephone logs; calendars; travel and expense records; worksheets; receipts; vouchers;
books of account (including ledgers, sub-ledgers, journals, sub-journals, vouchers, receipts,
invoices and billings and all other financial records); bank records and statements; canceled
checks and all vouchers or retained copies, and all debit memos or other advises and written
bank communication; manuals; books; pamphlets; brochures; circulars; telegrams; tape
recordings; transcripts; newspaper or magazine clippings; all non-identical drafts of each
document listed above; and other items on which information has been recorded or stored.
Different versions of the same document with or without handwritten notation found in the
original shall be considered different documents.

8. The term "communication" as used herein shall mean and include any

transmission or exchange of information between two or more persons, whether orally or in

 
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writing, and including without limitation any conversation or discussion by means of letter,
telephone, note, E-mail, text message, instant message, web E-mail, voice mail, post it note,
memorandum, telegraph, fax, telecopy, pdf attachment, or any other electronic or other medium.

9. The term "person" as used herein includes individuals, firms, corporations,
partnerships, joint ventures, associations, governmental entities, other entities, or groups of
persons, and each division, department, and other unit thereof, unless the context clearly
indicates reference only to a specific individual.

10. The terms "and" and "or" as used herein shall be construed either conjunctively or
disjunctively as required by the context to bring within the scope of these Interrogatories and
Request for Production of Documents any information which might be deemed outside their
scope by any other construction.

11. The word "date" as used herein shall mean the exact day, month and year, if
ascertainable, or if not ascertainable, the best approximation.

12. The terms “referred to,” "relate to" or "relating to" a given subject matter means
constitutes, contains, embodies, compromises, reflects, identifies, states, deals with, comments
on, responds to, describes, analyzes, or having as a subject matter, directly or indirectly,
expressly or impliedly, the subject matter of the specific request.

13. Unless otherwise stated, these Interrogatories and Request for Production refer to
the period of time from August 2010 to the present.

14. —- The term “Plaintiff as used herein shall refer to Roy Wieber.

15. The term “Defendant” as used herein shall refer to THE CARRIAGE HOUSE.

16. As used herein, a request to "identify" a natural person shall be deemed a request

for that person’s name, current home address and telephone number, and the name, address and

 
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telephone number of that person’s current employer or business, if known, and whether the
individual is a present or former employee of THE CARRIAGE HOUSE, his or her precise job
or position, titles held, the dates of employment, and the reason for termination of employment if
the individual is a former employee.

17. As used herein, a request to "identify" an entity, such as a corporation, partnership
or association, means to state the name of the entity, its business address, telephone number, and
name of its chief executive officer and the agent for service of process.

18. The term "identify" when used in reference to a document shall mean a statement
of the date thereof, the author and, if different, the signer or signers, their addresses, its present or
last-known location or custodian and all the means of identifying it. If any such document was,
but is no longer, in your possession or subject to your control, state the present whereabouts of
the document, if known.

19. With respect to each Interrogatory relating to oral communications, it is intended
and requested that the answer to each such interrogatory set forth whether the oral
communication was by telephone or face to face, and set forth further the names, addresses,
telephone numbers, and business positions or occupations of the persons involved in said
communications; the names, addresses and telephone numbers of any other person present
during such communications; the date on which such communication took place; and the time
and place of said communication. For any oral communications withheld from identification as
attormey-work product, or the subject of attorney-client privilege, describe such oral
communication by date, parties involve and a brief description of the contents of the

communication.

 
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20. In lieu of identifying particular documents or communications, such documents or
communications may be organized, clearly labeled, and then attached to the Answer to those
Interrogatories requesting identification of those documents or communications.

21. "Describe in detail" shall mean to give a complete and full description concerning
the matter about which inquiry is made, including the full name, address and telephone number
of the persons involved, if appropriate, along with dates, times, places, amounts and other
particulars which make the response to the Request fair and meaningful.

22. Answers to these Interrogatories shall be responsive to the date on which the
Answers to the Interrogatories are filed or served. These Interrogatories are continuing in nature
and the Defendant is required to provide such additional information as the Defendant, its
attorney(s), or anyone acting on behalf of the Defendant or in concert with the Defendant may
have or may obtain between the time the answers were served and the time of trial.

23. When an Interrogatory requires you to "state the basis of" or "describe in detail"
the nature of a particular claim, belief, contention, or allegation, state in your answer the identity
and nature of each and every communication, fact, authority, source, document, or event which
was the basis, in whole or in part, of, or which you think supports, such claim, belief, contention
or allegation, and identify each person with knowledge of any communication.

24. Wherever appropriate in these Interrogatories and Request, the singular form of a
word shall be interpreted as plural.

25. "And" as well as "or" shall be construed either disjunctively or conjunctively as
necessary to bring within the scope of these Interrogatories any information which might

otherwise be construed to be outside their scope.

 
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26. The word "date" as used herein shall mean the exact day, month and year, if
ascertainable, or if not ascertainable, the best approximation.

27. If your response to any Interrogatory or to the Request for Production of
Documents herein is other than an unqualified response, state for such Interrogatory or Request
the following:

(a) All facts that the Defendant contends supports in any manner its refusal to
respond, or Defendant’s qualified admission;

(b) The identity of all documents that support in any manner Defendant’s
refusal to respond, or qualification of Defendant’s response or admission;
and

(c) The name and address of all persons, including consultants, purported to
have any knowledge of factual data upon which the Defendant bases its
refusal to respond or Defendant’s qualification of response or admission.

28. If any document is withheld under a claim of privilege, furnish a detailed
privilege log which identifies each document for which the privilege is claimed, including the
following information:

(a) The date of the document;
(b) The sender(s);
(c) The recipient(s);

(d) The persons(s) to whom copies were furnished along with their job title(s)
or position(s);

(e) The subject matter of the document;
(f) The basis on which the privilege is claimed; and

(g) The paragraph of these Interro gatories and Request For Production Of
Documents to which said document responds.

29. In the event any document referred to in the Request for Production of Documents
is not in Defendant's possession, custody or control, specify what disposition was made of it and

identify the person who has possession, custody or control of the document.

 
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30. In the event that any document referred to in the Request For Production of
Documents has been destroyed specify the date of such destruction, the manner of such
destruction, the reason for such destruction, the person authorizing such destruction, and the
custodian of the document at the time of its destruction.

31. When produced, the documents must be organized and labeled in accordance with
the number of the request to which they are responsive.

INTERROGATORIES
INTERROGATORY NO. 1:

"State the complete name, business and residence address and telephone number(s) of the
person(s) answering these Interrogatories and all persons assisting in the preparation of the
answers to these Interrogatories. For each person designated, please identify the Interrogatory(s)

that person answered or provided assistance in.answering.

ANSWER:

INTERROGATORY NO. 2:

Other than any documents protected by attorney/client privilege, state whether the
Defendant, or anyone on its behalf (other than counsel), has obtained any written statements
from any potential witnesses, parties to this lawsuit and/or any persons with knowledge of
relevant facts. Ifso, for each person, please state the date, identity of the person providing the

statement, and the identity of the person possessing the original statement taken.

ANSWER:

INTERROGATORY NO. 3:

Identify the date the Defendant terminated the Plaintiffs employment.

 
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INTERROGATORY NO. 4:

Identify Plaintiff's direct supervisor at THE CARRIAGE HOUSE.
INTERROGATORY NO. 5:

Identify all complaints about disability discrimination at the THE CARRIAGE HOUSE
facility in Kentucky in the past two years.

ANSWER:

INTERROGATORY NO. 6:

Identify Plaintiffs compensation on an annualized basis.

ANSWER:

INTERROGATORY NO. 7:

Identify and describe the Defendant’s disability discrimination policy.

ANSWER:

INTERROGATORY NO. 8:
Identify any counseling Defendant provided to its supervisors regarding the need to avoid
disability discrimination whether formal or informal. For each such counseling provide the date,

the nature of the counseling and the entity and or individual(s) who provided the counseling.

ANSWER:

 
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INTERROGATORY NO. 9:
Identify the reason the Defendant terminated the Plaintiff's employment.
INTERROGATORY NO. 10:

Identify the benefits available to the Plaintiff during Plaintiff's employment with the Defendant.

ANSWER:

INTERROGATORY NO. 11:

Identify the Defendant’s health insurance provider.

ANSWER:

INTERROGATORY NO. 12:

Identify the director of human resources for the Defendant.

INTERROGATORY NO. 13:

Identify every exhibit that you will or may submit at trial in support of your Defense to
Plaintiff's complaint. If your list is incomplete at this time, identify the exhibits that are
currently known to you and that you reasonably believe you will use at trial and supplement the

response at a later date.

ANSWER:

INTERROGATORY NO. 14:
Identify the defendant’s employment handbook that prohibits disability discrimination.

ANSWER:

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INTERROGATORY NO. 15:
Identify each person you expect to call as an expert witness at the trial of this matter and
as to each such person, state:

(a) his or her full name, address and telephone number;
(b) area of expertise;
(c) the subject matter in which the expert is expected to testify;

(d) the substance of the facts and opinions to which the expert is expected to testify;
and

(e) a summary of the grounds for each such opinion.

ANSWER:

INTERRROGATORY NO. 16:
Describe any and write ups or correction action directed towards the Plaintiff while
employed at the Defendant’s facility.

ANSWER:

INTERROGATORY NO. 17:

Identify all complaints made by the Plaintiff to human resources while working for the
Defendant.

ANSWER

INTERROGATORY NO. 18
Identify the communication company(s) that provides E-mail service for the Defendant in

Kentucky. Ifthe Defendant provides its own E-mail service, state whether or not the Defendant

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deems itself a communications provider as defined by the Federal Stored Communication Act,

18 U.S.C. § 2701.

ANSWER:

INTERROGATORY NO. 19

Have any other incidents occurred in the same or similar manner as the incidents which
are the subject of this litigation? If so, state the names of the persons involved in the incidents,
the dates of the incidents, last known address(s) of the individuals, provide their phone numbers
and indicate whether litigation resulted therefrom, and if so, the name; place and docket number

of any lawsuit.

ANSWER:
INTERROGATORY NO 20.

Indicate whether or not the Defendant is the entity which employed the Plaintiff. Indicate
whether or not the Plaintiff has sued the proper entity; if you contend Plaintiff has not sued the

proper entity, indicate the identity and title of the organization that should be sued.

ANSWER:

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STATEMENT OF DOCUMENTS TO BE PRODUCED
REQUEST FOR PRODUCTION NO. 1:

_ Provide all documents or writings that are identified, described, relate to and/or were
referred to by you in preparing your Answers to Plaintiff's First Set of Interrogatories
accompanying this Request.

REQUEST FOR PRODUCTION NO. 2:

Please produce a copy of every document which supports any defenses asserted or that
will be asserted in your Answer to Plaintiff's Complaint. If the Defendant’s list is incomplete,
provide the documents currently known and supplement your responses at a later date.
REQUEST FOR PRODUCTION NO. 3:

Any and all documents relating to claims made by Plaintiff in this action or which
otherwise relate to Plaintiff's employment and discharge with the Defendant including, but not
limited to, diaries, notes, letters, E-mails, logs, recordings of any kind, photos, computer
generated information, voice mail and/or all other documents.

REQUEST FOR PRODUCTION NO. 4:

Any and all documents including, but not limited to, diaries, notes, letters, logs,
electronic mail, recordings and any transcripts thereof, photos, computer generated information
and/or all other documents, relating to or reflecting upon Plaintiffs communications with any
managers or employees of the Defendant, or any of its parent, sister, or subsidiary companies,
regarding any alleged unlawful, including opposition to unlawful conduct, wrongful, or tortious
conduct, including any underlying events, facts, or circumstances relating to the allegations

Plaintiff makes in Plaintiffs Complaint.

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REQUEST FOR PRODUCTION NO. 5:

All documents which you expect or plan to use in the trial of the above-styled action,
either as independent evidence, for impeachment purposes, to refresh recollection or otherwise.
If the Defendant’s list is incomplete, produce the documents currently known and supplement
your response at a later date.

REQUEST FOR PRODUCTION NO. 6:

Any and all letters, statements, notes, recordings, electronic communications, documents,
or other forms of communication between the Defendant and former employees of the Defendant
concerning any of the underlying events, facts, or circumstances relating to Plaintiffs claims in
this action.

REQUEST FOR PRODUCTION NO. 7:

Any and all letters, notes, recordings, electronic communications, or documents
containing statements or other communications from or with persons with knowledge of the
allegations, events, and claims relating to the claims or defenses raised in this action.
REQUEST FOR PRODUCTION NO. 8:

Produce the entire employment files of: Roy Wieber. Make the appropriate redactions
to each file as required by Federal, State and Local laws.

REQUEST FOR PRODUCTION NO. 9:

Produce all documents relating to claims of disability discrimination against the
Defendant in the last five (5) years in Kentucky. Produce for copy and inspection all e-mails or
other documents sent by, to, or between or from any of the Defendant’s supervisors or member
of management relating in any way to the Plaintiff, her employment with the Defendant and her
constructive discharge. To the extent not included above, provide copies including, but not

limited to, recordings, E-mails, notes and transcriptions of any and all statements taken from any

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current or former representative, agent or employee of the Defendant which relate in any way to
the allegations in Plaintiff’s Complaint.
REQUEST FOR PRODUCTION NO. 10:

Produce for copying and inspection any and all of Defendant’s: employment handbooks,
policy manuals and training manuals relating to its operations.
REQUEST FOR PRODUCTION NO. 11:

Produce for copying and inspection any and all of the Defendants: policies governing or
pertaining to hostile work environment, disability discrimination or retaliation which are used in
its operations.

REQUEST FOR PRODUCTION NO. 12:

Produce for copying and inspection any insurance policy that does or might provide
insurance coverage of any kind for any of the claims asserted by the Plaintiff in her Complaint.
REQUEST FOR PRODUCTION NO. 13:

Provide all other exhibits, notes, memoranda, letters or other documents you will or may
use in support of your Defenses in this lawsuit, whether as evidence, base data or to refresh your
recollections or that of other actual or potential witnesses, which are not described in any of the
categories of documents listed above. If your list is incomplete, produce the documents you are

currently aware of and supplement your response at a later date.

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Respectfully submitted,

  

Pde

Kurt A. Scharfenberger, Esq
800 Kentucky Home Life Building
239 South Fifth Street

Louisville, Kentucky 40202

 

Counsel for the Plaintiff
CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing Plaintiff's First Set of
Interrogatories and Request for Production of Documents Propounded to Defendant The

Carriage House was served with the Complaint:

THE PRENTICE-HALL CORPORATION
SYSTEM, INC.

421 WEST MAIN STREET
FRANKFORT, KY 40601

 

COUNSEL FOR PLAINTIFF

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CASE NO. 15-CI-00410 OLDHAM CIRCUIT COURT
DIVISION ONE (1)
JUDGE KAREN A. CONRAD
ROY WIEBER PLAINTIFF
v. AGREED ORDER
THE CARRIAGE HOUSE COMPANIES, INC., DEFENDANT
kek eK

The parties, through counsel, having agreed to the terms of this Agreed Order and the
Court being sufficiently advised;

IT IS HEREBY ORDERED that Defendant, The Carriage House Companies, Inc., shall
have up to and including September 19, 2015 to answer or respond to Plaintiff's Complaint; and

IT IS FURTHER ORDERED that Defendant, The Carriage House Companies, Inc., shall
have up to and including October 13, 2015 to respond or object to Plaintiff's First Set of
Interrogatories and Request for Production of Documents.

Done this _“/ dayof__éezne_, 2015.
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JUDGE, OLDHAM CIRCUIT COURT

 

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‘Case 3:16-cv-00495-DJH Document 1-1 Filed 08/02/16 Page 23 of 46 PagelID #: 28

HAVE SEEN AND AGREED TO:

BE LO

Blaine R. Blood

BINGHAM GREENEBAUM DOLL
3500 National City Tower

101 South Fifth Street
Louisville, KY 40202
Telephone: 502-587-3702
Facsimile: 502-588-1320
E-Mail: bblood@bedlegal.com

 

and

Hillary L. Klein (Pending Pro Hac Vice)
HUSCH BLACKWELL LLP

736 Georgia Avenue, Suite 300
Chattanooga, TN 37402

Telephone: 423-757-5950

Facsimile: 423-266-5499

E-mail: Hillary.klein@huschblackwell.com

COUNSEL FOR DEFENDANTS

and

 

 

Z eT f/
Kutt A Scharfenberger
800 Kentucky Home Life Building
239 South Fifth Street
Louisville, KY 40202

COUNSEL FOR PLAINTIFF

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Case 3:16-cv-00495-DJH Document1-1 Filed 08/02/16 Page 24 of 46 PagelD #: 29

CASE NO. 15-CI-00410 OLDHAM CIRCUIT COURT
DIVISION ONE (1)
JUDGE KAREN A. CONRAD

 

ROY WIEBER PLAINTIFF
Vv. NOTICE-MOTION-ORDER
THE CARRIAGE HOUSE COMPANIES, INC., DEFENDANT
: kek KEK
NOTICE

PLEASE TAKE NOTICE that on Friday, September 25, 2015 at 1:00 p.m. in the
courtroom of the above Court or as soon thereafter as counsel may be heard, Defendant, The
Carriage House Companies, Inc. will make the following Motion and tender the Order attached
hereto.

MOTION FOR ADMISSION PRO HAC VICE

Pursuant to SCR 3.030(2), Blaine R. Blood, on behalf of the Defendant, respectfully
moves this Court for the admission pro hac vice of Hillary L. Klein. Counsel respectfully prays
that this Honorable Court grant Attorney Hillary L. Klein leave to actively participate in all
proceedings in connection with the above-captioned matter on behalf of the Defendant. In
support of this Motion, Blaine R. Blood submits the attached Affidavit as Exhibit 1.

WHEREFORE, Blaine R. Blood, as counsel of record for the Defendant, respectfully
prays that this Honorable Court grant the instant Motion for Admission pro hac vice of Hillary L.
Klein.

A proposed Order is tendered herewith.

 

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Respectfully submitted,

EEOC
Blaine R. Blood. oe
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Telephone: 502-587-3702
Facsimile: 502-588-1320
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Kleix 4 BPR No. 024988
736 Georgia A e, Suite 300
Chattanooga, TNL3
423.757.5950

402
423.266.5499 (fax)
Hillary.klein@buschblackwell.com

 

      

Pending Pro Hac Vice

COUNSEL FOR DEFENDANT
THE CARRIAGE HOUSE COMPANIES, INC.

CERTIFICATE OF SERVICE

Thereby certify that a true and exact copy of the foregoing Defepdant’s Notic, -Mption-
Order was delivered via first class U.S. Mail, postage prepaid, this (Gta of f S615, to:

Kurt A. Scharfenberger
800 Kentucky Home Life Building

 

 

239 South Fifth Street
Louisville, KY 40202
COUNSEL FOR PLAINTIFF \) XY
te. .
COUNSEL FOR DEFENDANTS
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CASE NO. 15-CI-00410 OLDHAM CIRCUIT COURT
DIVISION ONE (1)
JUDGE KAREN A. CONRAD
ROY WIEBER PLAINTIFF
v. AFFIDAVIT OF BLAINE R. BLOOD
THE CARRIAGE HOUSE COMPANIES, INC., DEFENDANT
a a a

In support of this Motion, counsel of record hereby certifies that:

1. Blaine R. Blood is local counsel for Defendant.

2. Blaine R. Blood is a member in good standing of the Bar of the Commonwealth
of Kentucky.

3. Blaine R. Blood is an attorney with the law firm of Bingham Greenebaum Doll

LLP, and regularly maintains an office for the practice of law in the Commonwealth of
Kentucky, located at 3500 National City Tower, Louisville, Kentucky.
4. Hillary L. Klein is an attorney with the law firm of Husch Blackwell LLP, 736

Georgia Avenue, Suite 300, Chattanooga, Tennessee.

5. Hillary L. Klein is a member in good standing of all bars in which she is a
member.
6. Hillary L. Klein consents to the jurisdiction and rules of the Kentucky Supreme

Court governing professional conduct. (See Exhibit A, Affidavit of Hillary L. Klein).

7. The Kentucky Bar Association Out-Of-State Certification Form is attached as
Exhibit B.

FURTHER, Affiant sayeth naught.

Ke 0 er)

Blaine R. Blood

KCP-4614195-1

 
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COMMONWEALTH OF KENTUCKY _ )

)SS:
COUNTY OF JEFFERSON )

Subscribed and sworn to before me by Blaine R. Blood on this the ‘“{™ day of

Doorn —, 2015.

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Notary Public
My Commission expires: _ ©& “23 -!%

 

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CASE NO. 15-CI-00410 : OLDHAM CIRCUIT COURT

DIVISION ONE (1)

JUDGE KAREN A. CONRAD

ROY WIEBER PLAINTIFF
v. AFFIDAVIT OF HILLARY L. KLEIN

THE CARRIAGE HOUSE COMPANIES, INC., DEFENDANT

kek AK

1. My name is Hillary L. Klein and J make this Affidavit in support of the pending

motion for Order admitting me pro hac vice to appear in this action as attorney of record for

Defendant., The Carriage House Companies, Inc. J seek admission to this Court for the purpose
of participating in above-styled action.

2. I am an attorney with Husch Blackwell LLP, 736 Georgia Avenue, Suite 300,

Chattanooga, Tennessee.

3. I am currently duly licensed and in good standing to practice law before the
following courts: Missouri, Kansas, and Tennessee.

4. J am not currently, and never have been, suspended or disbarred from any Court,
nor has any adverse disciplinary decision been rendered against me by any state bar, bar

association, or Court.

5. I hereby consent to be subject to the jurisdiction and rules of the Kentucky

Supreme Court governing professional conduct.

KCP-4614195-1

 
Case 3:16-cv-00495-DJH Document1-1 Filed 08/02/16 Page 29 of 46 PagelD #: 34

Further Affiant sayeth naught. 7 /} /} fe (Y \
Ou es l A VY)

HILLARY L. KLEDS

j

 

 

STATE OF MISSOURI )
)SS: 4
COUNTY OF Lc Rad— )
Subscribed and sworn to before me by Hillary L. Klein on this the 3/u t day of
Fagus tt ,2015.
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Notary Public
—_/
My Commission expires: ¥/ S/AO), SF

     

SHARON D. BARLOW
Notary Public - Notary Seal
} STATE OF MISSOURI
} My Com isgnkson County y
mission Expires: April p

Commission # 14e4y0n7" 2018 P

   
       
     

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Case 3:16-cv-00495-DJH Document 1-1 Filed 08/02/16 Page 30 of 46 PagelD #: 35

OFFICERS
Douglass Farnsley
President

R. Michael Sullivan
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Immediate Past President

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Chair

EXECUTIVE DIRECTOR
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COURT Oldham County Circuit Court

SCR 3.030 Membership, practice by nonmembers and classes of membership

KENTUCKY BAR ASSOCIATION

514 WEST MAIN STREET
FRANKFORT, KENTUCKY 40601-1812

(502) 564-3795
FAX (502) 564-3225

www.kybar.org

 

KENTUCKY BAR ASSOCIATION
OUT-OF-STATE CERTIFICATION FORM

BOARD OF GOVERNORS
Mindy G. Barfield
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Earl M. McGuire

J. D. Meyer

Eileen M. O’Brien
Michael M. Pitman
W. Fletcher Schrock
Gary J. Sergent
Bobby Simpson

J. Stephen Smith
John Vincent

CASE NO. 15-Cl-00410

(2) A person admitted to practice in another state, but not in this state, shall be permitted to
practice a case in this state only if that attorney subjects himself or herself to the jurisdiction and rules
of the court governing professional conduct, pays a per case fee of $270.00 to the Kentucky Bar
Association and engages a member of the association as co-counsel, whose presence shall be necessary
at all trials and at other times when required by the court. No motion for permission to practice in any
state court in this jurisdiction shall be granted without submission to the admitting court of a

certification from the Kentucky Bar Association of receipt of this fee.

The Kentucky Bar Association certifies that Hillary Klein has paid the per-case fee of $270.00 on August

2U, 2015 in the above referenced case as required in SCR 3.030(2)

Tho, ie quolsby ~

Michele M. Pogrotsky, Deputy Registrar

 
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CASE NO. 15-CI-00410 OLDHAM CIRCUIT COURT
DIVISION ONE (1)
JUDGE KAREN A. CONRAD
ROY WIEBER PLAINTIFF
v. ORDER
THE CARRIAGE HOUSE COMPANIES, INC., DEFENDANT
kkk *

Upon consideration of the Motion of Blaine R. Blood counsel for Defendant, The
Carriage House Companies, Inc., and the Court being sufficiently advised,

IT IS HEREBY ORDERED that Hillary L. Klein should be, and hereby is, granted
permission to appear and participate pro hac vice as co-counsel of record in this action.

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Done this 2% day of XG ff , 2015.
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JUDGE, OLDHAM CIRCUIT COURT

 

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TENDERED BY: QO ?
Blaine R. Blood
BINGHAM GREENEBAUM DOLL
3500 National City Tower
101 South Fifth Street
Louisville, KY 40202
Telephone: 502-587-3702

Facsimile: 502-588-1320
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and

HUSCH BLAGKYVELL LLP .
Wud lay

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423.757.5950

423.266.5499 (fax)
Hillary.klein@huschblackwell.com

Pending Pro Hac Vice

COUNSEL FOR DEFENDANTS

KCP-4614195-1

 
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CASE NO. 15-C]-00410 OLDHAM CIRCUIT COURT

DIVISION ONE (1)

JUDGE KAREN CONRAD

ROY WIEBER PLAINTIFF
V.

THE CARRIAGE HOUSE COMPANIES, INC. DEFENDANT

OK Kk OK KK

NOTICE — MOTION - ORDER

PLEASE TAKE NOTICE that on Friday, October 2, 2015, at 1:00 p.m. in the above-
referenced Court, Defendant The Carriage House Companies, Inc., will make the following
Motion and tender the Order submitted herewith.

DEFENDANT’S MOTION FOR MORE DEFINITE STATEMENT

Defendant The Carriage House Companies, Inc., by counsel and pursuant to CR 12.05
respectfully requests that the Court order Plaintiff to provide a more definite statement of his
“Disability Discrimination” claim asserted as Count IV.B. in his Complaint. In particular,
Defendant requests that the Court order Plaintiff to identify the law under which he seeks to
pursue his “Disability Discrimination” claim.

INTRODUCTION

Under our Civil Rules, a complaint “shall contain . . . a short and plain statement of the
claim showing that the pleader is entitled to relief.” CR 8.01(1)(a). See also, Security Trust Co.
v. Dabney, 372 S.W.2d 401, 407 (Ky. 1963) (even under notice pleading rules, a complaint must
still disclose a cause of action). Although Plaintiff's Complaint makes factual assertions and
identifies a cause of action for “Disability Discrimination,” it does not identify the law Plaintiff

claims to have been violated and under which he seeks relief. It is unclear from the Complaint

 

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whether Plaintiff intends to assert a State law statutory claim, a Federal law statutory claim,
and/or something else.

Absent a pleading which identifies the law under which Plaintiff asserts his claim of
Disability Discrimination, Defendant simply cannot fairly and reasonably respond to Plaintiff's
Complaint. Consequently, a more definite statement of Plaintiff’s claim is warranted and
necessary at this time.

ARGUMENT

Under CR 12.05, a Court may order a more definite statement if a party cannot
reasonably frame a response to a pleading because the pleading is vague or ambiguous. And
particularly where a pleading fails to state a cause of action, thus failing to notify the adverse
litigant of the basis of the claim, the pleading is subject to a CR 12.05 motion. Caldwell v.
Frazier, 304 S.W.2d 922, 923 (Ky. 1957) (per curiam). See also, Bolin v. Davis, 283 S.W.3d
752, 756-57 (Ky. App. 2008) (CR 12.05 motion is appropriate where defendant is prejudiced or
confused due to deficient notice of the claim asserted against it). Defendant cannot ascertain
whether a federal discrimination claim has been asserted in addition to state law claims.
Clarification of the specific legal claims at issue is essential in order for Defendant to frame its
factual response to the Complaint, assert legal defenses, and avail itself of procedural rules and
defenses applicable to federal claims. Resolution of this matter at the outset of litigation
promotes judicial efficiency and will assist in focusing discovery efforts.

CONCLUSION

For the foregoing reasons, Defendant respectfully requests that the Court order Plaintiff

to provide a more definite statement of his Disability Discrimination claim, so that Defendant

may fairly prepare an appropriate responsive pleading.

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Respectfully submitted,

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Blaine R. Blood
BINGHAM GREENEBAUM DOLL LLP
3500 National City Tower
101 South Fifth Street
Louisville, KY 40202
502-589-4200
bblood@bgdlegal.com

COUNSEL FOR DEFENDANT,
THE CARRIAGE HOUSE COMPANIES,
INC.

CERTIFICATE OF SERVICE

[hereby certify that a true and correct copy of the foregoing was served, this 18th day of
September, 2015, via regular U.S. mail, upon the following:

Kurt Scharfenburger

800 Kentucky Home Life Building
239 South Fifth Street

Louisville, Kentucky 40202

Phrine E. Blow (by for |

COUNSEL FOR DEFENDANT A

 
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CASE NO. 15-CI-00410 OLDHAM CIRCUIT COURT

DIVISION ONE (1)

JUDGE KAREN CONRAD

ROY WIEBER PLAINTIFF
V.

THE CARRIAGE HOUSE COMPANIES, INC. DEFENDANT

Ok Ok Ok ok Ok

ORDER
Upon consideration of the Motion for More Definite Statement made by Defendant, The
Carriage House Companies, Inc., and the Court being sufficiently advised,
IT IS HEREBY ORDERED that Defendant’s Motion for More Definite Statement should
be, and hereby is, granted. Plaintiff shall have fourteen (14) days from the entry of this order to
file an amended complaint identifying whether the Complaint states any federal causes of action.

Done this day of , 2015.

 

JUDGE, OLDHAM CIRCUIT COURT

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CIVIL ACTION NO. 15-CI-00410 _ OLDHAM CIRCUIT COURT
DIVISION: ONE (1) |
JUDGE: KAREN CONRAD
ROY WIEBER PLAINTIFF

2985 MORTON RIDGE ROAD
BEDFORD, KY 40006

FIRST AMENDED COMPLAINT
THE CARRIAGE HOUSE COMPANIES, INC. DEFENDANT

ELEVEN CONAGRA DRIVE, 11-260
OMAHA, NE 68102

SERVE: THE PRENTICE-HALL CORPORATION SYSTEM, INC.
421 WEST MAIN STREET
FRANKFORT, KY 40601

I. INTRODUCTION

Comes the Plaintiff, ROY WIEBER (hereinafter “WIEBER” or “Plaintiff’), and for his
First Amended Complaint against the Defendant, The Carriage House Companies, Inc.
(hereinafter “Carriage House” or “Defendant”), states as follows:
Il. JURISDICTION AND VENUE
1. Carriage House is a Kentucky corporation.
2. WIEBER is a Kentucky resident.

3. Carriage House is a corporation regularly transacting business in Oldham County,

Kentucky.

4. Venue is proper in Oldham County, Kentucky, pursuant to Kentucky Revised

 

Statutes (“KRS”), Chapter 452 et seq because the events that give rise to the eauses-_of-action-in:

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Case 3:16-cv-00495-DJH Document 1-1 Filed 08/02/16 Page 38 of 46 PagelD #: 43

this case occurred in Cidham County, Kentucky. A case and controversy exists between the
parties to this action and the amount in controversy exceeds the jurisdictional minimum of this
Circuit Court but is less than $75,000 inclusive of fees, punitive damages and the fair value of
any injunctive relief.

5. nf FACTS

6. WIEBER is a former employee of Carriage House.

7. WIEBER worked for Carriage House as a senior machine operator.

8. WIEBER worked for Carriage House at its Kentucky facilities.

9. During his employment the Plaintiff disclosed that he suffered from a herniated
disc. The Plaintiff sought accommodations from the Defendant (in part) in the form of
convalescence time. Subsequent to Plaintiffs disclosure and request for accommodations the
Defendant perceived the Plaintiff as disabled. The Defendant also directly discriminated against
the Plaintiff based on his disability.

10. In response to the discriminatory actions, the Plaintiff complained and was
thereafter terminated in retaliation for Plaintiff's complaints.
IV. CLAIMS AND CAUSES OF ACTION
A. RETALIATION

11. WIEBER re-alleges all allegations contained in Paragraphs 1 through 10 above as
if fully set forth herein.

12. Carriage House as set forth above, constitute retaliation and unlawful discharge in

violation of KRS 344.280 ef seq.

 

 

Page 2

 
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B. DISABILITY DISCRIMINATION

13. | WIEBER re-alleges all allegations contained in Paragraphs 1 through 12 above as

if fully set forth herein.
| 14. The Defendant’s actions constitutes perceived as regarded as disability
discrimination, disability discrimination and failure to accommodate in violation of The
Kentucky Civil Rights Act, Kentucky Revised Statues (KRS) Chapter 344.
C. RECOVERY OF ATTORNEY’S FEES AND COSTS

15. | WIEBER re-alleges all allegations contained in Paragraphs 1 through 14 above as
if fully set forth herein.

16. | WIEBER is entitled to recover Plaintiff's attorney’s fees and costs pursuant to the
provisions of KRS 344 et seq.

V. PRAYER FOR RELIEF

WHEREFORE, Plaintiff WIEBER respectfully prays that Plaintiff be awarded the
following relief and all other relief to which Plaintiff may be entitled:

A. Trial by jury;

B. Judgment against the Defendant on all claims asserted herein;

C. Compensatory damages including but not limited to past and future lost wages
and past and future lost benefits;

D. Compensatory damages including but not limited to emotional distress, mental
anguish, humiliation and embarrassment;

E. Punitive damages to punish and deter similar future unlawful conduct;

F. An award of statutory attorney fees, costs and expenses; and

G. Statutory interest on all damage awards, verdicts or judgments.

 

 

Page 3

 
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Respectfully submitted,

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Kurt A. Scharfenberger

800 Kentucky Home Life Building
239 S. Fifth Street

Louisville, Kentucky 40202

(502) 561-0777 (phone)

(502) 236-0888 (fax)

Attorney for the Plaintiff
Kurt@Scharfenberger-law.com

 

 

Page 4

 
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CIVIL ACTION NO. 15-CI-00410 OLDHAM CIRCUIT COURT
DIVISION THREE (1)

JUDGE KAREN CONRAD
ROY WIEBER PLAINTIFF
Vv.
THE CARRIAGE HOUSE COMPANIES, DEFENDANT
INC.

kk ee
ANSWER OF DEFENDANT

THE CARRIAGE HOUSE COMPANIES, INC

Defendant, The Carriage House Companies, Inc. (“Defendant”), by counsel, for its

Answer to Plaintiff, Roy Wieber’s (“Plaintiff”), First Amended Complaint, responds as follows

with numerical paragraphs in Defendant’s Answer responding to the corresponding numerical

paragraph in Plaintiffs First Amended Complaint:

1.

2.

3.

4.

Denied.
Admitted upon information and belief.
Admitted.

Admitted that venue is proper in this Court, but denied Defendant engaged in any

conduct giving rise to a cause of action under the law.

5.

This is a heading, not a factual or legal assertion. As such, it does not require a

response from Defendant.

6.

7.

8.

9.

  

 

Admitted. = i L E D
Admitted Plaintiff worked as a machine operator. OCT 16 2085
Admitted. my OHAM CIRC /DIST, COURT

D.C.
Admitted Plaintiff disclosed that he suffered from spinal and other medical issues

that would require surgery and an indefinite leave of absence, from which he did not know if he

 
Case 3:16-cv-00495-DJH Document 1-1 Filed 08/02/16 Page 42 of 46 PagelD #: 47

would be able to return to work. Denied as to all remaining contentions and inferences asserted
in paragraph 9.

10. Denied as to all contentions, allegations, and inferences asserted in paragraph 10.

11. Defendant reasserts its responses to the allegations contained in paragraphs 1
through 10 above.

12. Denied.

13. Defendant reasserts its responses to the allegations contained in paragraphs 1
through 12 above. |

14. Denied.

15. Defendant reasserts its responses to the allegations contained in paragraphs 1
through 14 above.

16. Denied that Plaintiff is entitled to the relief requested. Further answering, denied
that Plaintiff is entitled to any of the relief requested in the “Prayer for Relief” section that
follows paragraph 16.

GENERAL DENIAL

Defendant denies any contention or allegation in Plaintiff's First Amended Complaint

that is not specifically admitted in this Answer.

FIRST DEFENSE

Plaintiff's Complaint fails to state a claim upon which relief can be granted.

SECOND DEFENSE

Plaintiff's claims are barred, in whole or in part, because he was an at-will employee
whose employment, under Kentucky law, could be terminated or modified at any time, for any

reason not contrary to law, with or without notice.

 
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THIRD DEFENSE

All of Defendant’s actions toward Plaintiff were taken with the good-faith, honest belief
that they were appropriate; and without malice, reckless indifference, or any desire to harm
Plaintiff.

FOURTH DEFENSE

Plaintiffs claims are barred, in whole or in part, because all of Defendant’s actions with
respect to the Plaintiff were taken for legitimate, non-discriminatory and non-retaliatory
reason(s).

FIFTH DEFENSE

Plaintiff's claims are barred, in whole or in part, because his damages — if any — are not
the result of any action or inaction taken by Defendant.

SIXTH DEFENSE

Plaintiffs claims are barred, in whole or in part, because Defendant’s actions were taken
in compliance with its policies and procedures ~ which Plaintiff agreed to follow.

SEVENTH DEFENSE

Plaintiff's claims are barred, in whole or in part, because he failed to give Defendant
proper notice of his alleged discrimination concerns and/or any other alleged wrongful conduct.

EIGHTH DEFENSE

Plaintiffs claims are barred, in whole or in part, because — to the extent he reported his
alleged discrimination or other concerns — they were not reported properly and/or they were
reported in bad-faith.

NINTH DEFENSE

Plaintiffs claims are barred, in whole or in part, because he has not suffered any damages

and/or failed to mitigate his alleged damages.

 
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TENTH DEFENSE
Plaintiff's claims are barred, in whole or in part, because he was not discriminated
against.
ELEVENTH DEFENSE
Plaintiff's claims are barred, in whole or in part, because he cannot establish a prima-
facie case of discrimination or retaliation.

TWELFTH DEFENSE

Plaintiff's claims are barred, in whole or in part, because he cannot establish that
Defendant’s actions were a pretext for discrimination or retaliation.

THIRTEENTH DEFENSE

Plaintiff's claims are barred, in whole or in part, because Defendant would have taken the
same action in the absence of any impermissible motivating factor.

FOURTEENTH DEFENSE

Plaintiff's claims are barred, in whole or in part, because punitive damages are not
permitted by the Kentucky Civil Rights Act for employment-related claims.
FIFTEENTH DEFENSE
Plaintiff's claims are barred, in whole or in part, by the doctrines of estoppel, bad faith,
and unclean hands.

SIXTEENTH DEFENSE

Defendant reserves the right to amend this Answer to raise any and all defenses,
affirmative or otherwise, which may become available during this litigation.

PRAYER FOR RELIEF

WHEREFORE, Defendant requests relief as follows:

A. That Plaintiffs Complaint be dismissed in its entirety;

 
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B. That Plaintiff be required to pay any costs, expenses, and/or attorneys’ fees for
Defendant, and any post and/or pre-Judgment interest thereon; and
C. Any and all further relief to which Defendant may be entitled.

Respectfully submitted,

 
       

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laine R. Blood

BINGHAM GREENEBAUM DOLL LLP
101 South Fifth Street

Louisville, KY 40202-3197

(502) 587-3702

bblood@bgdlegal.com

Hillary L. Klein

HUSCH & BLACKWELL

736 Georgia Avenue, Suite 300
Chattanooga, TN 37402

COUNSEL FOR DEFENDANT,
THE CARRIAGE HOUSE COMPANIES, INC.

 
Case 3:16-cv-00495-DJH Document1-1 Filed 08/02/16 Page 46 of 46 PagelD #: 51

CERTIFICATE OF SERVICE
I hereby certify that on this Lot day of Octinbe- 2015, a copy of the foregoing
was mailed to the following:

Kurt A. Scharfenberger

1800 Kentucky Home Life Bldg.
239 S. Fifth Street

Louisville, KY 40202

(502) 561-0777

(502) 236-0888
Kurt@scharfenberger-law.com

 
  

 

COUNSEL FOR PLAINTIFF
COUNSEL FOR DEFENDANT
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